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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA

James Lawrence Luker,                          )              C/A No. 0:21-629-PJG
                                               )
                              Plaintiff,       )
                                               )
       v.                                      )                     ORDER
                                               )
Kilolo Kijakazi, Acting Commissioner of the    )
Social Security Administration, 1              )
                                               )
                              Defendant.       )
                                               )


       AND NOW, this 24th day of September, 2021, upon consideration of the Defendant’s

Motion to Remand and with consent from Plaintiff, it is hereby ORDERED that the Defendant’s

motion is granted and this action is remanded to the Commissioner for further evaluation under

the fourth sentence of 42 U.S.C. § 405(g).



                                             __________________________________________
September 24, 2021                           Paige J. Gossett
Columbia, South Carolina                     UNITED STATES MAGISTRATE JUDGE




       1
       Pursuant to Federal Rule of Civil Procedure 25(d), Kilolo Kijakazi is substituted as the
named defendant because she recently became the Acting Commissioner of Social Security.
